                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


 MEMPHIS A. PHILLIP RANDOLPH
 INSTITUTE, et al.,

                 Plaintiffs,                        Civil No. 3:20-cv-0374

 v.                                                 JUDGE RICHARDSON
                                                    MAGISTRATE JUDGE FRENSLEY
 TRE HARGETT, et al.,

                 Defendants.


                    RESPONSE TO COURT ORDER OF AUGUST 6, 2020

         On August 6, 2020, in light of the Tennessee Supreme Court issuing its decision in the

Fisher v. Hargett (No. 2020-00831-SC-RDM-CV) and Lay v. Goins (No. M2020-00832-SC-

RDM-CV) cases (collectively the “Fisher opinion”), this Court ordered the Plaintiffs to “advise

the Court: (a) of any changes to the scope of the relief they are requesting via the Motion; (b) in at

least general terms of any changes to their asserted rationale for the granting of the relief requested

in the Motion; and (c) whether they request more time (and if so, how much time) to advise the

Court in more detail as to any changed asserted rationale for the granting of the relief requested in

the Motion.” Dkt. No. 60.

         Plaintiffs response to the Court’s order is included herein, and additional time to respond

is not requested. As explained below, the Fisher opinion largely confirms and magnifies the

necessity of the relief requested by Plaintiffs on their claims challenging the bar on absentee ballot

request dissemination and the lack of notice and cure procedures in the State’s signature matching

process. As to Plaintiffs’ claim challenging the first-time voter restriction, the Fisher opinion

clarifies the scope of the relief Plaintiffs seek and otherwise supports Plaintiffs’ argument that, for

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first-time voters who are otherwise eligible to vote by mail under Tennessee law, an unnecessary

restriction on their ability to do so imposes a heavy burden on their right to vote.

   I.      The Fisher Holding

        Prior to the filing of this case and the Fisher and Lay cases, the State had narrowly

interpreted its absentee voting Eligibility Criteria, see Tenn. Code § 2-6-201, to exclude individuals

under the age of 60 who “have underlying medical or health conditions which render them more

susceptible to contracting COVID-19 or at greater risk should they contract it (‘persons with

special vulnerability to COVID-19’), as well as those who are caretakers for persons with special

vulnerability to COVID-19.” Fisher Opinion at 1–2. But between the chancery court’s issuance of

its injunction and oral argument at the Tennessee Supreme Court, the State—through an Attorney

General’s Opinion—finally acknowledged the severity of the COVID-19 crisis, noting that the

virus is “surging,” “spreads very easily,” and that “[b]ecause there is currently no vaccine, cure,

or proven effective treatment for COVID-19, the best way to prevent illness is to avoid being

exposed to the virus.” See Fisher Opinion at 4–5 (quoting Op. Tenn. Att’y Gen. No. 20-14 at *1–

2 (July 24, 2020)). Thus, at oral argument before the Tennessee Supreme Court, the State conceded

for the first time that persons with special vulnerability to COVID-19 and their caretakers “already

are eligible to vote absentee by mail” under Tennessee law. Id. at 2.

        In light of the State’s new concession permitting voters with special vulnerability to

COVID-19 and their caretakers to vote by mail, the Tennessee Supreme Court vacated the trial

court’s injunction, and instead “instruct[ed] the State to ensure that appropriate guidance,

consistent with the State’s acknowledged interpretation, is provided to Tennessee registered voters

with respect to the eligibility of such persons to vote absentee by mail in advance of the November

2020 election.” Id. at 2. In so doing, the Tennessee Supreme Court confirmed that a wider pool of



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voters would remain eligible to vote by mail this November than had been eligible in any prior

election, with the exception of the just-passed August 2020 election. With respect to those

remaining individuals who continued to lack a statutory right to vote by mail even under the State’s

new interpretation of the law, the Tennessee Supreme Court declined to extend relief, finding that

the burden on their right to vote was “moderate,” and outweighed by the State’s justifications for

imposing it. See id. at 27–29.

    II.      The Effect of the Fisher Opinion on Plaintiffs’ Claims Challenging the Bar on
             Absentee Ballot Request Dissemination and the Signature Matching Procedures

          Plaintiffs’ claim respecting the statutory bar on the unsolicited distribution of absentee

ballot requests, see Tenn. Code § 2-6-202(c)(4), relates to how Organizational Plaintiffs can

communicate with already eligible absentee voters. See Dkt. No. 39, Pls.’ Am. Compl., at ¶¶ 52–

58, 77–82. The claims related to the lack of notice and cure protections for rejected absentee ballots

similarly relate to whether Organizational Plaintiffs’ absentee-eligible members will have their

vote counted when they vote by mail. See id. at 59–65, 83–91. The Fisher Opinion does not affect

Plaintiffs’ requested relief for either claim.

          However, the Fisher Opinion does confirm the importance of each of Plaintiffs’ claims. In

effect, the Fisher Opinion affirms that the pool of absentee-eligible voters this election cycle will

be larger than in past cycles. See Dkt. No. 40–3, Reingold Decl. ¶ 9 (noting that approximately 32

percent of Tennessee adults under the age of 65 have a pre-existing condition that would render

them vulnerable to COVID-19). Organizational Plaintiffs must be able to effectively communicate

with such voters—including many who will be voting by mail for the first time—about their right

to vote by mail, and to help facilitate their ability to do so. See Dkt. No. 41, Memo ISO Pls.’ Mot.

Preliminary Injunction (“Mot.”) at 21–22. Similarly, because of the likely large number of

absentee voters, it follows that the State’s failure to provide notice and cure procedures to voters


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of rejected absentee ballots only increases the risk of erroneous deprivation of the right to vote to

a broader share of the electorate. See id. at 33–36; see also Dkt. No. 54, Pls.’ Reply at 17–21.

   III.       The Effect of the Fisher Opinion on Plaintiffs’ Claim Challenging the First-Time
              Voter Restriction

          With respect to their first-time voter claim, Plaintiffs requested that the Court enjoin the

first-time voter restriction as to any first-time voter who is otherwise eligible to vote by mail under

Tennessee law. See Mot. at 21 (noting that the first-time voter restriction “imposes an unnecessary

and undue burden on the right to vote for eligible absentee voters”). By finally discerning the

categories of voters eligible to vote by mail during the COVID-19 crisis, the Fisher opinion

clarifies which first-time voters are otherwise eligible to vote by mail for purposes of Plaintiffs’

claim. Thus, while the Fisher opinion does not affect the nature of the relief Plaintiffs’ seek—i.e.,

an injunction of the first-time voter restriction for otherwise absentee eligible first-time voters—it

clarifies the scope of who may benefit from such relief.

          Outside of this clarification of the scope of relief available under Plaintiffs’ first-time voter

claim, the Fisher Opinion—including its factual recitation of the seriousness of the COVID-19

pandemic in Tennessee—only confirms that for otherwise absentee eligible first-time voters, the

burden imposed on their right to vote by having to vote in person is extremely heavy. See Mot. at

27–29. Indeed, for such voters, many of whom will fall into the category of individuals with special

vulnerability to COVID-19, the “best way to prevent illness is to avoid being exposed to the virus.”

See Fisher Opinion at 4–5 (quoting Op. Tenn. Att’y Gen. No. 20-14 at **1–2 (July 24, 2020)). But

unless the first-time voter restriction is enjoined by the Court, such vulnerable first-time voters

will have to vote in person, despite even the State’s concession that they should otherwise be

permitted to vote by mail under state law to safeguard their health.

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       For the reasons articulated in Plaintiffs’ moving and reply papers, and as further clarified

herein, the Court should grant Plaintiffs’ Motion for Preliminary Injunction.


Dated: August 11, 2020                        Respectfully Submitted,

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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY, pursuant to Local Rule 5.01, that on this 11th day of August, 2020, the
foregoing was served via the Court’s CM/ECF filing system and by electronic mail on the following:

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